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                                       EXHIBIT C

                               Southland Transcript Excerpt




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 1                      UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE
 2
                                     .         Chapter 11
 3   IN RE:                          .
                                     .         Case No. 20-10158 (KBO)
 4
     SOUTHLAND ROYALTY COMPANY LLC, .
 5                                   .         Courtroom No. 1
                                     .         824 North Market Street
 6                                   .         Wilmington, Delaware 19801
                                     .
 7                      Debtors.     .         May 8, 2020
     . . . . . . . . . . . . . . . . .         3:30 P.M.
 8
                      TRANSCRIPT OF TELEPHONIC HEARING
 9                  BEFORE THE HONORABLE KAREN B. OWENS
                       UNITED STATES BANKRUPTCY JUDGE
10
     TELEPHONIC APPEARANCES:
11

12   For the Debtors:             M. Blake Cleary, Esquire
                                  Sean M. Beach, Esquire
13                                Elizabeth S. Justison, Esquire
                                  YOUNG CONAWAY STARGATT & TAYLOR LLP
14                                Rodney Square
                                  1000 North King Street
15                                Wilmington, Delaware 19801

16                                - and -

17                                C. Luckey McDowell, Esquire
                                  Ian E. Roberts, Esquire
18                                SHEARMAN & STERLING LLP
                                  2828 N. Harwood Street, Suite 1800
19                                Dallas, Texas 75201

20
     Audio Operator:              Al Lugano
21
     Transcription Company:       Reliable
22                                1007 N. Orange Street
                                  Wilmington, Delaware 19801
23                                (302)654-8080
                                  Email: gmatthews@reliable-co.com
24
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 1               THE COURT:     Okay.    Thank you.

 2               Well, I very much appreciate the time of the

 3   witnesses today and, of course, the presentations of the

 4   parties.   I also appreciate the perhaps uncomfortable

 5   position that Mr. Bifferato is in, as I know from private

 6   practice, that no professional likes to object to

 7   compensation and retention issues.

 8               But upon consideration of all of the issues, I am

 9   going to overrule the objection of the agents and enter the

10   retention orders, either as been presented with respect to

11   Jefferies or as will be revised in accordance with the

12   agreement between the committee and the debtors as reflected

13   or as discussed on the record today.

14               I am just simply not persuaded by the arguments

15   today (indiscernible) the retention of the committee's

16   professionals, as has been suggested for a number of reasons.

17   The first is, of course, that the debtors voluntarily sought

18   the protections of this Court and the Code and under the

19   Code, the committee was formed and it now owes fiduciary

20   duties to it constituents.

21               And in its business judgment the committee has

22   determined that it requires the aid of two financial advisors

23   to accomplish those tasks and to fulfill their duties.           And

24   uncertainty, as the record showed, played a part in that

25   decision-making and such uncertainty has clearly only
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 1   worsened.

 2               I find that that judgment is reasonable, based on

 3   the circumstances of these proceedings and the evidence

 4   presented and I feel that the advisors will be performing two

 5   different functions.      They understand the need to avoid

 6   duplication and they have taken steps to avoid it.

 7               There's no evidence of a compensation structure,

 8   as proposed, is unreasonable when compared to other similar

 9   engagements and there's no -- there's mechanisms for review

10   of the fees and expenses, should duplication occur and the

11   other unreasonable fees and expenses be incurred.

12               I think it's critical, I feel that the members of

13   the committee understand, based on the declarations and the

14   testimony today, but more so in the declarations that were

15   submitted into evidence, that they understood that their

16   professionals and all professionals need to increase the

17   recoveries for unsecured creditors' costs when they made the

18   retention decisions and, quite frankly, committee costs

19   should not come as a surprise to lenders or any others who

20   frequently practice before the Bankruptcy Courts.

21               I, of course, do take pause that Jefferies will be

22   incurring a monthly fee while the Wamsutter sales process is

23   on pause.   That, perhaps, gives me the most pause, but I have

24   no evidence that Jefferies will not be working during that

25   time and, actually, there was testimony that the work is
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 1   possible -- that work is possible during the pause on the

 2   sales process.

 3                And there's been no modified compensation

 4   arrangement that's been presented to me with respect to the

 5   debtors' own investment banker and there is a Section 330

 6   review for the U.S. Trustee (indiscernible) Jefferies'

 7   application, as well as other professionals' applications is

 8   necessary to be utilized and I would think that collecting a

 9   fee for performing no work would be a basis for a good faith

10   objection.   I make no comment as to what the outcome of that

11   objection would be.

12                Admittedly, I struggle with these types of

13   retention and compensation issues.         I find them extremely

14   tricky, because I do believe that the Court and professionals

15   should always be mindful and work to manage fees and expenses

16   incurred in cases so that they do not become unreasonable

17   either on an individual basis or a collective basis, but I

18   have always believed and continue to believe that most

19   professionals act responsibly to manage the incurrence of

20   their fees and expenses during cases as circumstances and

21   outcomes shift and changes for stakeholders occur, and I

22   expect that the same will occur here as the cases progress.

23                And I, of course, expect all professionals in

24   these cases do the same, but for the reasons I just set

25   forth, I will not deny the committee's retention applications
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 1   today.

 2                So, when do you anticipate that you would like

 3   to -- well, let me rephrase.

 4                Do I have the Jefferies order in front of me, at

 5   least, that I can enter following the conclusion of today's

 6   hearing or am I waiting on both sets of orders?

 7                MR. GRILLO:     Your Honor, I think there are two

 8   orders.   The Conway order, I know it needs to be modified,

 9   obviously, to reflect the change that was presented today.

10                I think the Jefferies order is not subject to any

11   amendment.   I'm just checking with Mr. Alaniz to make sure.

12                MR. ALANIZ:     That's correct on the screen.

13                MR. GRILLO:     Okay.   So, the Jefferies order should

14   be good and we'll follow, making the change that has been

15   agreed upon with the debtor to the Conway MacKenzie order.

16                THE COURT:    Okay.     So, I will go ahead and enter

17   the Jefferies retention order, following the conclusion of

18   today's hearing and I'll wait to receive the Conway MacKenzie

19   revised order under certification of counsel at some point in

20   the near future.

21                Is there anything else that we should be

22   addressing at today's hearing or can we call it adjourned?

23                MR. GRILLO:     Only that this turned out to be, from

24   a technological perspective, more successful than I had

25   originally feared.     So, I want to thank the Court for its
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 1   accommodation.

 2               THE COURT:     Not a problem.      I concluded a seven-

 3   hour Zoom evidentiary hearing yesterday and this one went

 4   much more smoothly probably because people's phones and iPads

 5   are not dying from a loss of battery use from the extended

 6   time that we were all using them.         So, this one went much

 7   better.

 8               So, thank you all for participating.            I appreciate

 9   all the accommodations that you clearly gave each other for

10   getting here today and let's consider this hearing adjourned

11   and we can all leave our virtual meetings and sign off.

12               Everyone have a great evening.

13               COUNSEL:     Thank you, Your Honor.

14         (Proceedings concluded at 4:54 p.m.)

15

16

17

18                                  CERTIFICATE

19

20   I certify that the foregoing is a correct transcript from the
21   electronic sound recording of the proceedings in the above-
22
     entitled matter.
23
     /s/Mary Zajaczkowski__ _________                May 15, 2020
24   Mary Zajaczkowski, CET**D-531
25
